         Case 1:19-cv-00778-CJN Document 13 Filed 07/19/19 Page 1 of 3



            IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF COLUMBIA

CAUSE OF ACTION INSTITUTE,                      )
                                                )
            Plaintiff,                          )
                                                )
      v.                                        )          No. 1:19-cv-778-CJN
                                                )
UNITED STATES                                   )
DEPARTMENT OF COMMERCE                          )
                                                )
            Defendant.                          )
________________________________________________)

   PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO EXTEND
                      BRIEFING SCHEDULE

      Plaintiff Cause of Action Institute (“CoA Institute”) hereby opposes Defendant

Department of Commerce’s (“Commerce”) motion to extend the deadlines for

summary judgment briefing in this matter. In support of its opposition, CoA Institute

states as follows:

   1. In its Complaint, CoA Institute alleges that Commerce is unlawfully denying

it access to a report, which CoA Institute requested under the Freedom of Information

Act (“FOIA”), that Commerce prepared and sent to the President under the Trade

Expansion Act of 1962. See 19 U.S.C. § 1862.

   2. Although it has not yet officially presented its position, it appears that

Commerce’s believes the report is exempt from disclosure under FOIA unless and

until the President determines what action he will take in response to the report, and

when Commerce publishes the report in the Federal Register, as it is required by

statute to do. See id. § 1862(b)(3)(B). CoA Institute disagrees.
         Case 1:19-cv-00778-CJN Document 13 Filed 07/19/19 Page 2 of 3



    3. CoA Institute is concerned that Commerce may be trying to delay proceedings

until the President deigns to allow Commerce to comply with the statute.

    4. To wit, when the parties proposed summary judgment briefing schedules to

Judge Moss at the initial schedule conference on June 17, 2019, Commerce proposed

a schedule that would have concluded in December 2019, while CoA Institute

proposed a schedule that would have concluded August 2019.

    5. Judge Moss largely agreed with CoA Institute’s position and entered a briefing

schedule that concluded in August 2019.

    6. According to the schedule Judge Moss entered, Commerce’s motion for

summary judgment is due on July 22, 2019.

    7. At 4:11 PM on July 19, 2019—barely one-business day before her brief was

due—counsel for Commerce contacted counsel for CoA Institute and requested a

three-week extension on the theory that agency counsel would be out of office on a

family matter.1

    8. Out of professional courtesy, CoA Institute hereby consents to a one-week

extension of all briefing deadlines to allow for potentially-unforeseen developments.

    9. However, it cannot consent to a longer extension that would continue to delay

the Court’s consideration of this case and reopen a briefing-schedule dispute that

Judge Moss has already settled.

       Accordingly, CoA Institute urges the Court to deny Commerce’s motion and,

instead, extend all pending briefing deadlines by one week.


1Commerce also moved for and received a two-week extension for the initial scheduling
conference, which CoA Institute did not oppose. See ECF No. 10; May 24 Order.
                                            2
        Case 1:19-cv-00778-CJN Document 13 Filed 07/19/19 Page 3 of 3



Date: July 19, 2019                   Respectfully submitted,

                                      /s/ R. James Valvo, III
                                      R. James Valvo, III (D.C. Bar No. 1017390)
                                      Ryan P. Mulvey (D.C. Bar No. 1024362)
                                      Lee A. Steven (DC Bar. No. 468543)
                                      CAUSE OF ACTION INSTITUTE
                                      1875 Eye St., NW, Suite 800
                                      Washington, DC 20006
                                      Telephone: (202) 499-4232
                                      Facsimile: (202) 330-5842
                                      james.valvo@causeofaction.org
                                      ryan.mulvey@causeofaction.org
                                      lee.steven@causeofaction.org

                                      Counsel for Plaintiff




                                     3
